Case 0:21-cr-60266-KMM Document 9 Entered on FLSD Docket 09/15/2021 Page 1 of KS
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                                                                                  Sep 14, 2021
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                      21-60266-CR-MOORE/SNOW
                           CASE NO.
                                       21 U.S.C.1 841(a)(1)
  UNITED STATES OFAM ERICA

 VS.

  M ICHAEL W ILLIS,

                      Defendant.


                                       INDICTMENT

        The Grand Jurychargesthat:

                                         COUNT 1

        On oraboutAugust3,2021,in Broward County,intheSouthern DistrictofFlörida,the
 defendant,

                                     M ICHAEL W ILLIS,

 did knowingly and intentionally possess with intentto distribute a controlled substance,in

 violationofTitle21,Uni
                      tedStatesCode,Section841(a)(1)andTitle 18,United StatesCode,
 Section 2.

        PursuanttoTîtle21,UnitedStatesCode,Section841(b)(1)(A)(viii),itisfurtheralleged
 thatthisviolation involvédfi
                            fly(50)gramsormore ofmethamphetamine,itssalts,isomers,
                      :
 and sal
       ts öfits isom ers.

        PursuanttoTitle21,UnitedStatesCode,Section 841(b)(1)(B)(vi),itisfurtheralleged
 thatthi
       sviolation involvedforty(40)gramsormore ofa mixtureandsubstancecontainingN-
 phenyl-N-E1-(2 -phenylethyl)-4-piperidinyljpropanamide(fentanyl).
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                                             COUNT 2

              On oraboutAugust11,2021,in Broward County,in the Southern DistrictofFlorida,

    the defendant,

                                         M ICHAEL W ILLIS,

    did knowingly and intentionally possess with intentto distribute a controlled substance,in

    violation ofTitle21,United StatesCode,Section 841(a)(1)andTitle 18,Uni
                                                                         tedStatesCode,
    Section 2.

              PursuanttoTi
                         tle21,UnitedStatesCode,Section841(b)(1)(A)(viii),i
                                                                          tisfurtheralleged
    thatthisviolation involved fif'ty (50)gramsormore ofmethamphetamine,itssalts,isomers,
    and salts of its isom ers.

                                                    A TRUE BILL



                                                    FOREPERSON


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            0NIO GONM LEZ
     CTINQ UNITED STATES AU ORNEY

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   Case 0:21-cr-60266-KMM Document 9 Entered on FLSD Docket 09/15/2021 Page 3 of 4
                            UM TED STATES DISTRICT COIJRT
                            SOUTIIERN DISTRICT OF FLORD A

 IJNITED STATESOF AM ERICA                            CASE N O.
   V.

      M ichaelVvillis,
                                                      C ERTIFICATE O F TRIA L ATTO RNEY*
                                                      Superseding Caselnform ation:
                                    Defendant/.

     CourtDivision:(SelectOne)                        NeWdefendantts) I--IYes I--INo
    I--IMinmi F-lKeyWest I
                         -/-FTL                       Numberofnewdefendants
    I--IWPB F-lFTP                                    Totalnumberofcounts
         1. Ihavecarefully considered theallegationsoftheindictment,thenum ber.ofdefendants,thenum berofprobable
            witnessesand thelegalcomplexitiesofthelndictm ent/lnformationattachedhereto.
         2. lam awarethattheinform ation supplied onthisstatem entw illberelied upon by the JudgçsofthisCoul'
                                                                                                            tin
            Setlingtheircalendarsand scheduling criminaltrialsunderthem andateofthe Speedy TrialAct,
            Title28 U.S.C.Section 3161.
         3.lnterpreter:(YesorNo) NO
            Listlanguageand/ordialect
         4. Thiscase willtake 4 daysforthepartiesto try.
         5. Pleasecheck appropriatecategoly andtype ofoffenselistedbelow :
               (Checkonlyone)                             (Checkonlyone)
          I      Oto5days                   I
                                            7d            Petty                  EEI
          11     6to10days                                Minor                  EEI
          I1I    11to20days                               Misdemeanor            IZ
          IV     21to60days                               Felony                 Ed
          V      61daysandover
         6.HasthiscasepreviouslybeenfiledinthisDistrictCourt?(YesorNo)
              lfyes:Judge                             CaseNo.
              (Attach copyofdispositiveorder)
              Hasacomplaintbeenfiledinthismatter?(YesorNo)Yes
              lfyes:M agistrateCase No. 21-M J-6463-AOV
            Relatedm iscellaneousnumbers:
            Defendantts)infederalcustodyasof08/18/2021
            Defendantts)instatecustodyasof
            Rule20 from theDistrictof
            lsthisapotentialdeathpenaltycase?(YesorNo)No
         7. Doesthiscase originatefrom am atterpending in theCentralRegion oftheU .S.Atlorney'sOflice priorto
            August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo)No
         8. Doesthiscase originatefrom am atterpending in theNorthern Region oftheU.S.Attom ey'sOftice priorto
            August8,2014(Mag.JudgeShaniekM aynard?(YesorNo)No
         9. Doesthiscase originatefrom amatterpending intheCentralRegion oftheU.S.Attorney'sOffice priorto
              October3,2019(M ag.JudgeJaredStrauss)?(YesorNo)NO


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                                                                    AssistantUni
                                                                               tedStatesAttorney tygo
                                                                    CourtID No.        A5500077
*penalt.ySheetts)attached                                                                             REV 3/19/21
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                              UN ITED STATES DISTRICT CO UR T
                              SO UTH ERN DISTR ICT O F FLO W DA

                                        PEN ALTY SH EET

   D efendant'sNam e: M ICH AEL W ILLIS

   Case N o:

   Count#:1 and 2

   Possession w ith Intentto D istributeM etham phetam ine and Fentanyl

   21U.S.C.jj 841(a)(1),841(b)(1)(A)(viii),and841(b)(1)(B)(vi)
   *M ax.Penalty:M ethamphetamine-Lifelmprisonment(10yearsmandatoryminimum);atleast
   5yearsofsupervisedreleaseupto life;$10,000,000 fine;and $100specialassessm ent.

   *M ax.Penalty:Fentanyl-4oYears'lmprisonment(5yearsmandatoryminimum);atleast4years
   ofsupervisedreleaseupto life;$5,000,000fine;and $100 specialassessm ent.
   Count# 2

   Possession w ith Intentto D istributeM etham phetam ine


   21U.S.C.jj841(a)(1)and841(b)(1)(A)(viii)

   *M ax.Penalty:LifeImprisonment(10yearsmandatoryminimum);atleast5yearsofsupervised
   releaseup to life;$10,000,000fine;and $100specialassessm ent.
   *R efersonly to possible term ofincarceration,does notinclude possible snes,restitution,
            specialassessm ents,paroleterm s,orforfeituresthatm ay be applicable.
